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   6
   7                       UNITED STATES DISTRICT COURT

   8                       CENTRAL DISTRICT OF CALIFORNIA

   9
  10 MIGUEL HERNANDEZ,                               Case No.: 2:20-cv-08040 MWF (MAAx)

  11                Plaintiff,
                                                     NOTICE OF SETTLEMENT OF
  12         vs.                                     ENTIRE CASE

  13
  14 HOSN AND HOSN ENTERPRISES,
     INC.; and DOES 1 to 10,
  15
                Defendants.
  16
  17
             Notice is hereby given that Plaintiff Miguel Hernandez ("Plaintiff") and
  18
       Defendant have settled the above-captioned matter as to the entire case. Parties
  19
       requests that the Court grant thirty (30) days from the date of this filing for Plaintiff
  20
       to file dispositional documents in order to afford Parties time to complete settlement.
  21
  22    DATED: September 16, 2020                    SO. CAL EQUAL ACCESS GROUP
  23
  24
                                                           /s/ Jason J. Kim
  25                                                 JASON J. KIM
  26                                                 Attorney for Plaintiff
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  28

                                                            NOTICE OF SETTLEMENT OF ENTIRE CASE
